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                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF MAINE


                                                       CIVIL ACTION
                                                       Case No. 20-cv-00237-JDL



                  * * * * * * * * * * * * * * * * * * * *

                  ED FRIEDMAN,

                                   Plaintiff

                       vs.

                  CENTRAL MAINE POWER,

                                   Defendant

                  * * * * * * * * * * * * * * * * * * * *



                             ZOOM DEPOSITION OF:   DAVID C. BENTON, M.D.




                              BEFORE:   Melissa L. Merenberg, RPR, Notary

                       Public, in and for the State of Maine, on February 3,

                       2022, beginning at 8:45 a.m.



                                            APPEARANCES


                  David Lanser, Esq.                         For the Plaintiff

                  Christopher C. Taintor, Esq.               For the Defendant

                  Maureen McCrann Sturtevant, Esq.           For the Witness


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                                  DEPONENT:    DAVID C. BENTON, M.D.


                            EXAMINATION                                  PAGE


                      By Mr. Taintor                                        3

                      By Mr. Lanser                                        19


                                                * * * * *


                                               EXHIBIT LIST


                   No.                        Description              Referred
                  Marked

                      1                    Progress Notes                   5

                      2                 November 30, 2016 Letter            9

                      3                  April 30, 2020 Letter             15

                      4                  April 30, 2020 Letter             16

                      5               October 17, 2013 Test Results         7

                      6                September 4, 2010 Test Results       -

                      7                       Test Results                  7

                      8                September 4, 2010 Test Results      16

                      9                 October 25, 2010 Letter            17




                                                * * * * *
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                                                              3                                                                     5
 1              (This Zoom deposition was taken before Melissa L.    1               MR. LANSER: This is Dave Lanser on behalf of
 2       Merenberg, RPR, Notary Public, in and for the State of      2       plaintiff, Ed Friedman.
 3       Maine, on February 3, 2022, beginning at 8:45 a.m.)         3               THE WITNESS: Okay.
 4                              *****                                4               MR. CONNOLLY: I'm Tim Connolly. I'm one of the
 5              (Also present at the deposition was Tim              5       in-house lawyers at Central Maine Power Company.
 6       Connolly.)                                                  6               THE WITNESS: Okay.
 7                              *****                                7              MR. TAINTOR: And Melissa, of course, is the
 8              (The deponent was administered the oath by the       8       court reporter, the most important person here, other
 9       Notary Public.)                                             9       than yourself.
10                              *****                               10   BY MR. TAINTOR:
11   DAVID C. BENTON, M.D., called, after having been duly sworn    11   Q   Exhibit 1 is 142 pages of, I guess, what I would
12   on his oath, deposes and says as follows:                      12       characterize as progress notes. Are you able to
13                           EXAMINATION                            13       confirm that those are all of your progress notes from
14   BY MR. TAINTOR:                                                14       the time you started treating Mr. Friedman until
15   Q   Good morning, Dr. Benton. Can you hear me okay?            15       today?
16   A   I can.                                                     16   A   I can't confirm that's everything, but just the
17   Q   My name is Chris Taintor. I represent Central Maine        17       timeline.
18       Power Company in a lawsuit brought by your patient, Ed     18   Q   Okay. So your most recent encounter with him was in
19       Friedman.                                                  19       December of 2021; is that correct?
20              Have you ever testified in a deposition before?     20   A   That would be about accurate.
21   A   I have.                                                    21   Q   Okay. That's the first page of Exhibit 1?
22   Q   Okay. So you understand essentially how this is going      22   A   Mm-hmm.
23       to happen. I'm going to ask you some questions, other      23   Q   And the -- what I have as your first encounter, I
24       lawyers may have the chance to ask questions or to         24       think, is a note that starts at page 140 of Exhibit 1,
25       object to questions, do you understand all that?           25       and that's dated October 2, 2013. Would you look at
                                                              4                                                                     6
 1   A   Yes.                                                        1       that and --
 2   Q   And you understand that the oath that you've just           2   A   Which page do you want me to look at, sir?
 3       taken is the same oath that you would take if you were      3   Q   00140.
 4       testifying live in a courtroom?                             4              MS. STURTEVANT: Actually, if you go to page 140
 5   A   Yes.                                                        5       of the PDF, that's --
 6   Q   Because I'm a layman and I certainly don't understand       6               THE WITNESS: Right. That's what I am looking
 7       the medicine involved here and I hope not to get too        7       for.
 8       involved in it anyway, it's likely that I will ask you      8               That's a consultation note, so that would be
 9       questions that don't make sense to you and that             9       accurate in terms of when I first saw him.
10       require restatement or clarification. Would you let        10   BY MR. TAINTOR:
11       me know if that happens so that we're sure that you're     11   Q   Okay. And so this says, He's here today for
12       answering only questions that make sense to you?           12       consultation regarding persistent anemia. And I am
13   A   Okay.                                                      13       just trying to understand, it looks like shortly after
14   Q   I understand from reviewing the record of New England      14       this encounter, you ordered some testing which
15       Cancer Specialists that you have been Ed Friedman's        15       confirmed that Mr. Friedman has a form of
16       treating oncologist since 2013; is that correct?           16       non-Hodgkin's lymphoma, correct?
17   A   Yes, yeah.                                                 17   A   Correct.
18   Q   And have you received the deposition exhibits that I       18   Q   Was this referral -- was this consultation the result
19       emailed to your attorney yesterday?                        19       of a referral by Mr. Friedman's primary care
20   A   Yes, the nine exhibits here.                               20       physician?
21   Q   Right. And Exhibit 1 is --                                 21   A   That's usually how they get to me. I couldn't say --
22   A   Just a moment. Can you -- can people identify              22       my note does not say who referred to it. There may be
23       themselves here?                                           23       another note that's a consultation -- you know, a page
24   Q   Sure.                                                      24       that gets imported to the record that's, you know,
25   A   I don't know who you people are.                           25       faxed from the primary care office, but in this note,
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                                                                7                                                                 9
 1       it doesn't look like I identified who sent the patient      1             THE WITNESS: That sounds right.
 2       here. It said that it is referred.                          2   BY MR. TAINTOR:
 3   Q   Actually, it looks like on the next page you copied         3   Q   So from the time you diagnosed Mr. Friedman in October
 4       Marcus Deck. He is a primary care physician?                4       of 2013 until you wrote the letter, which is Benton
 5   A   He is, yeah. That is who would be referring him. Ed         5       Deposition Exhibit 2, dated November 30, 2016, had you
 6       is still a patient of Marcus Deck.                          6       noted in your treatment of him any cognitive
 7   Q   Okay. And if we look at Pages 527 and 28, as well as        7       impairment that he was experiencing?
 8       570, are those the test results that confirmed or that      8   A   No.
 9       established the diagnosis of malignant lymphoma?            9   Q   I'm sorry, no you said?
10          MS. STURTEVANT: So, Chris, you have those marked        10   A   Correct. No cognitive impairment that I was aware of.
11       as Exhibits 5 and 7?                                       11   Q   And over the course of that roughly three-year period,
12          MR. TAINTOR: That's probably true, yeah. Let me         12       had you noted any memory impairment?
13       take a look at that. Correct.                              13   A   During the first three months of -- three years of
14   BY MR. TAINTOR:                                                14       treatment?
15   Q   Exhibits 5 and 7 are the test results that confirmed       15   Q   Correct.
16       or established the diagnosis of malignant lymphoma?        16   A   And this is a question of memory impairment versus
17   A   Right.                                                     17       cognitive impairment?
18   Q   Okay. And hoping to sort of streamline the deposition      18   Q   Right.
19       as much as I can without going through a whole bunch       19   A   I did not see any change in memory.
20       of records in sequence. Are you able to sort of            20   Q   And the reason I'm asking that is if we look at Benton
21       recount for me the overall arc of Mr. Friedman's           21       Deposition Exhibit 2, which is your letter dated
22       treatment and progress in the eight years or so that       22       November 30, 2016 -- let me know when you have that in
23       you have been treating him in terms of how he's done       23       front of you.
24       and what you've -- what treatment you have provided        24   A   I have it in front of me.
25       and how it's affected him?                                 25   Q   Okay. The second paragraph of the letter says, We are

                                                                8                                                                 10
 1   A   He presents with anemia that I believe to be                1       concerned that low-level non-ionizing radiation
 2       multifactorial. There had been a recent accident,           2       exposure of the type and levels emitted by
 3       hospitalization, I believe for a broken hip. There          3       Electromagnetic Frequency invoicing tools may
 4       was some question that it was iron deficiency that was      4       exacerbate problems already experienced by my patient,
 5       contributing, and I treated that without much change.       5       including fatigue, cognitive difficulties, memory
 6       And then bone marrow biopsy, lymphoma. He was started       6       issues, and multiple cancer types.
 7       on Bendamustine Rituximab, which he responded               7             And what I think I understand you to have just
 8       partially to.                                               8       said is that as of this date, you were not aware that
 9            I think -- around the time I wrote that letter,        9       Mr. Friedman had experienced cognitive difficulties or
10       that was in 2016, I would have to go back and look, he     10       memory issues. Am I correct about that?
11       had a relapse, so the IGM levels started to go back        11   A   Correct.
12       up. He was started on ibrutinib, and that worked           12   Q   So I noted in the medical record that -- and if we
13       well. And he's been, I would say, controlled since         13       look at Page 87 of Exhibit 1, Pages 87 and 88. Let me
14       then with some spikes when he goes off medication.         14       know when you have that.
15       Currently, he's on zanzabrutinib and still is              15   A   87. Okay. So I have got 87. I will just read that a
16       responding to therapy.                                     16       moment.
17            THE COURT REPORTER: Can you say that, what he's       17   Q   It really goes over on to 88.
18       on now, again?                                             18   A   Okay.
19            THE WITNESS: It's zan -- I would have to write        19   Q   Just let me know when you're all set.
20       it down myself. Zanzabrutinib. I'll give you the           20   A   Okay. Okay.
21       spelling in a sec here. So ibrutinib is basically as       21   Q   So you note there at the top of Page 88 where you
22       it sounds, brut -- i-b-r-u-t-i-n-i-b and then              22       said, Reviewed letter to CMP, plan to make changes and
23       zanzabrutinib, zan --                                      23       get it back to the patient.
24          MS. STURTEVANT: I've got it in the record as            24   A   Mm-hmm.
25       z-a-n-u-b-r-u-t-i-n-i-b.                                   25   Q   Is that referring to the letter that we have marked as
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                                                              11                                                                13
 1       Benton Deposition Exhibit 2?                               1   A   Recently I can't recall talking about too much
 2   A   Yes.                                                       2       fatigue.
 3   Q   So do you have a -- I take it you don't have a copy of     3   Q   Okay. So as of the time you signed this letter --
 4       the letter that -- well, let me ask the question           4       well, first of all, do you remember having a
 5       differently. Am I to understand from this that             5       conversation with Mr. Friedman about what you were and
 6       Mr. Friedman came to you with a letter that he wanted      6       were not comfortable putting in the letter?
 7       you to send to Central Maine Power Company?                7   A   Yes.
 8   A   Yes.                                                       8   Q   Can you describe that conversation for me?
 9   Q   Do you have a copy in your file anywhere or anywhere       9   A   Well, not a verbatim memory of the discussion, but
10       in your possession or control that is the original        10       just that I wasn't comfortable saying, you know, that
11       letter that Mr. Friedman presented to you on or about     11       EMF exacerbates problems already experienced. I said
12       October 5, 2016?                                          12       they may exacerbate.
13   A   Not that I'm aware of.                                    13   Q   And before signing the letter, did you perform any
14   Q   As you are sitting here today, do you have any memory     14       research at all to support the proposition that EMF
15       of how the letter, which is marked as Benton              15       may exacerbate problems Mr. Friedman had already
16       Deposition Exhibit, 2 differed from the letter            16       experienced?
17       Mr. Friedman presented to you back in October of 2016?    17   A   No.
18   A   I believe I was responsible for that first paragraph,     18   Q   Had you, prior to this date, ever advised Mr. Friedman
19       that sounds like my wording. The second paragraph I       19       to minimize his exposure to electromagnetic frequency
20       soften to say, We're concerned, not the causation         20       radiation?
21       necessarily. And I put in the word may. And the           21   A   No.
22       third paragraph seems like it could come from either      22   Q   In the course of your practice, had you ever
23       one of us.                                                23       recommended to patients that they not have smart
24   Q   Okay. So when you say that you softened that              24       meters in their homes?
25       paragraph to eliminate -- this is my paraphrasing,        25   A   No.

                                                              12                                                                14
 1       that you said, you softened the language to eliminate      1   Q   When you signed this letter, were you even aware of
 2       references to causation, what do you mean by that?         2       what a smart meter was?
 3   A   It means I don't know what caused his lymphoma.            3   A   My understanding of a smart meter is that it's
 4   Q   Did -- did the letter presented to you by Mr. Friedman     4       basically Wi-Fi network and that Central Maine Power
 5       suggest that -- I'll phrase the question differently.      5       is putting them in all homes.
 6   A   It was a little bit more -- just a moment. I'm going       6   Q   And I take it you had not formed any opinion as of
 7       to have to step out.                                       7       November 30, 2016, on the question of whether exposure
 8   Q   Sure.                                                      8       to electromagnetic frequency radiation from smart
 9              (Whereupon there was a brief pause in               9       meters posed any sort of a risk to human health; is
10       deposition.)                                              10       that true?
11   A   He was a little bit more certain of things, but I         11             MS. STURTEVANT: Objection to form and
12       forgot exactly what he said, but I remember putting in    12       foundation, Chris. Maybe if we just keep it limited
13       the word may.                                             13       to this patient.
14   BY MR. TAINTOR:                                               14             MR. TAINTOR: Well, I think I would like to ask
15   Q   Okay. Okay. Is it fair to assume that since you had       15       that broader question first.
16       not noted any cognitive difficulties or memory issues     16             MS. STURTEVANT: Dr. Benton, if you can -- you
17       that have been experienced by Mr. Friedman, that          17       can answer if you're willing to give that, you know,
18       language would be his?                                    18       that opinion outside of Mr. Friedman's care.
19   A   Yes.                                                      19   A   I know in Mr. Friedman's care, he is extremely anxious
20   Q   And then it refers to multiple cancer types.              20       about this issue, and I think that causes him stress.
21   A   I will stop you and just say those are Ed's words         21       So I was hoping that he could live his life with
22       there.                                                    22       cancer without that stress and, therefore, I asked for
23   Q   Okay. And I -- and he did -- he was complaining over      23       a reasonable accommodation. Why you all are pushing
24       the course of his treatment and probably still does       24       back on that, I have no idea.
25       complain of fatigue; is that true?                        25   BY MR. TAINTOR:
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                                                               15                                                               17
 1   Q   So are you upset to be here this morning, Doctor?           1       Dr. Castillo someone who has more expertise with
 2   A   I don't enjoy it.                                           2       Mr. Friedman's particular cancer?
 3   Q   Okay. My question is not about whether having --            3   A   He's a subspecialist in Waldenstrom's
 4   A   You asked about health, right? So just pure physical        4       macroglobulinemia.
 5       health or mental health?                                    5   Q   Do you know whether Mr. Friedman continues to have a
 6   Q   No, let me sharpen the question. As of the time that        6       relationship or any treatment from Dr. Castillo?
 7       you wrote this letter of November 30, 2016, had you         7   A   Via me. You know, I email Jorge Castillo when I'm
 8       ever formed the opinion that exposure to non-ionizing       8       changing therapies, if I have questions. I don't
 9       radiation from smart meters posed a risk to physical        9       think he's been down there in several years.
10       health of human beings?                                    10   Q   Okay. And then Exhibit 9 is a letter from the
11             MS. STURTEVANT: Same objection.                      11       National Cancer Institute to Mr. Friedman, 2010. Do
12              But you can answer, Doctor.                         12       you have a recollection of how this ended up in your
13   A   No. Although I do have patients who feel like they         13       file?
14       can feel it. That raises some question. But I have         14   A   No.
15       no research or data to support that in a published         15   Q   Do you have -- is it your belief that Mr. Friedman's
16       article.                                                   16       Waldenstrom's is genetically transmitted, if that's
17   BY MR. TAINTOR:                                                17       the right term?
18   Q   I want to ask you now about Benton Deposition Exhibit      18   A   I don't know.
19       3. And that's a similar letter dated April 30, 2020.       19   Q   Have you had any communications with Mr. Friedman
20       Do you have any memory of the circumstances                20       about this litigation?
21       surrounding your signing this letter?                      21   A   I knew he was talking about it for a while, and then I
22   A   No, I don't remember signing this letter. It looks         22       was contacted by his lawyer, but that's about the
23       like probably a copy that I wrote before; is that          23       extent of our discussions on it.
24       correct? Yeah, I don't know why this was reprinted.        24   Q   And what was the -- who was the lawyer that contacted
25       I don't know. I don't have memory of this issue in         25       you?

                                                               16                                                               18
 1       2020.                                                       1   A   I believe it was Dave Lanser on the call here.
 2   Q   Okay.                                                       2   Q   Okay. And can you tell me about those conversations?
 3   A   My nurse may have printed out a new copy for him. I         3   A   Yeah, I was upset that I was being pulled into this.
 4       don't know that.                                            4   Q   And can you tell me anything else about the
 5   Q   Okay. Yeah, actually if we look at Page -- Exhibit 4,       5       conversation that you recall?
 6       this looks like a slightly different version of the         6   A   No.
 7       same letter, just that it first appears as though it        7   Q   Is that because you can't remember?
 8       has a signature line for a nurse in your office and         8   A   There wasn't much more to it.
 9       then --                                                     9   Q   Have you had any other conversations either with
10   A   Right. She probably printed that off and it came out       10       Mr. Friedman or with his lawyers about the litigation
11       with her name on it so they redid it with my signature     11       and your involvement in it?
12       on it, would be my guess. That is my nurse, and she        12   A   I think I -- I let Ed know I was not happy with being
13       would take care of an issue like that.                     13       pulled into this, but that was a one-sentence
14   Q   You don't remember signing this letter?                    14       conversation.
15   A   No.                                                        15   Q   Do you have any email correspondence with Mr. Friedman
16   Q   Okay.                                                      16       of any kind?
17   A   Again, I suspect that she made this letter and then        17   A   Ed sent me articles that he thinks I might be
18       realized it was coming out with her name, redid it         18       interested in on this topic, but I don't look at them.
19       with my old signature on there.                            19   Q   On the topic of electromagnetic radiation?
20   Q   Got it. Thank you.                                         20   A   I think so, but, again, I don't read them, so I don't
21              I want to ask you about Deposition Exhibit 8.       21       know exactly.
22       Just let me know when you have it.                         22   Q   You don't correspond with him by email?
23   A   Okay. I have it.                                           23   A   No, generally not. I think I have responded to a
24   Q   So this appears as though you referred Dr. -- excuse       24       question about a clinical issue here and there, but
25       me -- referred Mr. Friedman to Dr. Castillo for -- is      25       nothing on this topic.
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                                                              19                                                               21
 1   Q   Okay. All right. Those are all my questions. Thank         1          MS. STURTEVANT: Can I -- are you asking for the
 2       you very much. I don't know if Mr. Lanser may have         2       -- Mr. Friedman's diagnosis, all patients, or just
 3       some questions for you.                                    3       him? Maybe if we focus it a bit more, it would be
 4              MR. LANSER: I may have just a couple of follow-     4       helpful.
 5       ups. Let me look at my notes. But it will be brief,        5            MR. LANSER: Yeah, we'll limit it to
 6       I assure you.                                              6       Mr. Friedman.
 7                        EXAMINATION                               7   BY MR. LANSER:
 8   BY MR. LANSER:                                                 8   Q   Do you take into account, you know, his personal
 9   Q   So, yeah, just a few brief follow-ups here,                9       activities, his diet?
10       Dr. Benton.                                               10   A   I take into account what I think they can tolerate in
11              I believe you mentioned when Mr. Taintor was       11       terms of physical tolerance, mental tolerance, how
12       questioning you, you mentioned you -- or you              12       well they're going to tolerate side effects, mental
13       referenced some distinction between physical and          13       state's important in that. So, yes, I do take those
14       mental health; is that correct?                           14       things into account.
15   A   Yes.                                                      15            Is Mr. Connolly still part of this phone call or
16   Q   I believe your -- yeah, I believe you were talking        16       has he signed off at this point? I don't like having
17       about -- you said something along the lines of the EMF    17       a black --
18       issues causing Mr. Friedman a lot of stress; is that      18            MR. CONNOLLY: I apologize, Dr. Benton. In the
19       accurate?                                                 19       home world, we have kids and stuff running around so I
20   A   Yes.                                                      20       just take them off the screen.
21   Q   Okay. And stress or other mental health issues like       21   BY MR. LANSER:
22       that, do those ever -- do those affect your -- the way    22   Q   Are there any -- as far as Mr. Friedman, do you take
23       that you go about treating a patient ever? Is that        23       into account environmental factors that might affect
24       something you take into account?                          24       his diagnosis?
25   A   That's a little too broad a question. I'm not sure I      25   A   Not -- in terms of my choice of treatment?
                                                              20                                                               22
 1       understand it in that case.                                1   Q   Yeah.
 2   Q   Yeah, it was not a very well-phrased question.             2   A   No, I did not.
 3              I guess what I'm getting at is when you're          3   Q   And when we looked very briefly at Exhibit 9, which
 4       forming basically a treatment plan for a patient, you      4       was the letter from the National Cancer Institute
 5       take into account patient opinions, patient's mental       5       that's in the file, and then you also mentioned some
 6       health, that sort of thing?                                6       other studies that he had sent to you and you hadn't
 7   A   Yes.                                                       7       read, does -- is it fair to say Mr. Friedman is pretty
 8   Q   Is there any cure for Mr. Friedman's diagnosis?            8       well-read on the topic as far as you understand it?
 9   A   No, therapy is really based on maintaining --              9          MS. STURTEVANT: Objection to foundation.
10       maintaining the disease, control it, but not cure it.     10   A   I don't know. You would have to ask Mr. Friedman.
11   Q   Okay. So basically for Mr. Friedman -- it's fair to       11   BY MR. LANSER:
12       say the goals of the treatment of Mr. Friedman is just    12   Q   What are Mr. Friedman's primary symptoms?
13       to, you know, try to keep things status quo as much as    13   A   From his disease or from his treatment?
14       possible, maintain as it as best as you can?              14   Q   Good distinction. Let's start with the disease and
15   A   Correct. We refer to that as palliative treatment         15       then treatment.
16       because it's not curable intent treatment, but            16   A   From his disease, it was really just fatigue and
17       palliative doesn't mean end of life either.               17       anemia or anemia causing fatigue or anemia -- or
18   Q   Sure. Do you take into account factors such as a          18       lymphoma causing anemia and fatigue. You can't tell
19       patient's diet or activities, things like that when       19       the difference really. That was the presentation in
20       assessing the plan of treatment?                          20       2013. Since then I don't think he's had any symptoms
21   A   Ask that again, David.                                    21       from his disease and all the symptoms he has
22   Q   Yeah, I'm just asking if a patient's -- just as an        22       experienced have been side effects of -- not all, but
23       example, external factors, such as their diet or their    23       there are some symptoms he's had that were side
24       physical activities, is that something that you take      24       effects of the treatment.
25       into account in a plan of treatment?                      25   Q   Okay. Great. And what are the side effects of the
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                                                                  23                                                                  25

 1        treatment generally?                                          1                SIGNATURE PAGE

 2   A    He's had hypertension and easy bruising, minor trauma         2       I, DAVID C. BENTON, M.D., have read the foregoing

 3        causing easy bruising.                                        3    pages of my transcript or have had the foregoing pages

 4   Q    Do patients ever self-report symptoms?                        4    of my testimony read to me and have noted any changes

 5   A    That's the only person who could report a symptom.            5    in form or substance of my testimony, together with

 6        Signs -- I mean, the doctor determines the symptoms           6    their respective corrections and the reasons

 7        your patient complains of. That's the definition of a         7    therefore, on the following errata

 8        symptom, self-complaint.                                      8    sheet(s).

 9   Q    Okay.                                                         9
10   A    Which hypertension is something I diagnosed, so I            10                   DAVID C. BENTON, M.D.

11        guess that would be a sign, right.                           11
12   Q    Sure. Something like fatigue would be something that         12                 (Date)

13        would be self-reported generally?                            13
14   A    Correct.                                                     14     **************************************************

15   Q    I don't have any further questions either. Thank you,        15
16        Dr. Benton.                                                  16   TO BE COMPLETED BY NOTARY PUBLIC OR ATTORNEY:

17   A    Okay.                                                        17       I, a Notary Public/Attorney in and for the State

18           MR. TAINTOR: I have no other questions. Thanks.           18    of Maine, hereby acknowledge that the above-named

19           (The deposition was concluded at 9:17 a.m.)               19    witness personally appeared before me, swore to the

20             (Read and sign was sent to Ms. Sturtevant.)             20    truth of the foregoing statements and affixed his/her

21                                                                     21    signature above as his/her true act and deed.

22                                                                     22
23                                                                     23                   (Date)

24                                                                     24    My commission expires:

25                                                                     25
                                                                  24                                                                  26

 1                       CERTIFICATE                                    1                ERRATA SHEET INSTRUCTIONS

 2           I, Melissa L. Merenberg, RPR, a Notary Public in           2       Please note on the errata sheet below any

 3        and for the State of Maine, hereby certify that               3    changes in form or substance to your testimony

 4        the within-named deponent was sworn to testify to             4    contained in your deposition transcript. For each

 5        the truth, the whole truth, and nothing but the               5    change, list the page and line number, the words you

 6        truth, in the aforementioned cause of action.                 6    wish to change, the change, and the reason for the

 7             I further certify that this deposition was               7    change; ex: Typo, wrong word, word omitted, etc. be

 8        stenographically reported by me and later reduced             8    sure to sign the errata sheet. You must also sign the

 9        to print through computer-aided transcription and             9    signature page and have it notarized. Please return

10        that the foregoing is a full and true record of              10    the errata sheet and signature page to the attorney

11        the testimony given by the deponent.                         11    mentioned on the cover letter.

12           I further certify that I am a disinterested               12
13        person in the event or outcome of the above-named            13    ______________________________________________________

14        cause of action.                                             14     Page/Line: Words to Change: Changed to: Reason:

15             IN WITNESS WHEREOF, I subscribe my hand and             15    ______________________________________________________

16        affix my seal this 3rd day of February, 2022.                16
17                                                                     17
18                                                                     18
19                                 /s/ Melissa L. Merenberg            19
20                             MELISSA L. MERENBERG, RPR               20
21                                 NOTARY PUBLIC                       21
22                                 Court Reporter                      22
23                                                                     23                   Signature of Deponent

24   My commission expires: February 28, 2022.                         24
25                                                                     25
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 6     RE: Ed Friedman v. Central Maine Power Company.

 7
      Deposition of: David C. Benton, M.D.
 8

 9     INSTRUCTIONS FOR READING & SIGNING TRANSCRIPT

10        Enclosed please find a copy of your deposition
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11     matter within thirty (30) days, please read the
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